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 9 Attorneys for United States of America

10                                    UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN FRANCISCO DIVISION

13
     UNITED STATES OF AMERICA,                      )       CASE NO. 3:21-cr-00402 RS
14                                                  )
             Plaintiff,                             )       JOINT PROPOSED FORM OF VERDICT
15                                                  )
        v.                                          )       Judge:          Hon. Richard Seeborg
16                                                  )       Pretrial Conf.: July 27, 2022
     VICTOR MAKRAS,                                 )       Time:           10:00 a.m.
17                                                  )       Trial Date:     August 15, 2022
             Defendant.                             )
18                                                  )

19

20           The United States of America (“United States”) and Defendant Victor Makras (“Defendant”) by
21 and through undersigned counsel, hereby respectfully submit the attached proposed verdict form for use

22 in the above-captioned case.

23           //
24           //
25           //
26           //
27           //
28           //


     JOINT PROPOSED FORM OF VERDICT                     1
     Case No. 3:14-CR-00510-VC
              Case 3:21-cr-00402-RS Document 100 Filed 07/22/22 Page 2 of 3




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 2   DATED: July 22, 2022                        Respectfully submitted,

 3                                               STEPHANIE M. HINDS
                                                 United States Attorney
 4
                                                     /s/
 5                                               DAVID J. WARD
                                                 ZACHARY G.F. ABRAHAMSON
 6                                               Assistant United States Attorneys

 7   DATED: July 22, 2022                           /s/
                                                 JOHN W. KEKER
 8                                               JAN NIELSEN LITTLE
                                                 CODY GRAY
 9
                                                 Attorney for Defendant VICTOR MAKRAS
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     JOINT PROPOSED FORM OF VERDICT          2
     Case No. 3:14-CR-00510-VC
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 4

 5    UNITED STATES OF AMERICA,                             Case No. 3:21-cr-00402-RS

 6             Plaintiff,                                   VERDICT

 7                       v.

 8    VICTOR MAKRAS,

 9             Defendant.

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11
             WE, THE JURY in this case, unanimously find the Defendant VICTOR MAKRAS:
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13
              1.                                  (GUILTY / NOT GUILTY) of the offense of conspiracy to
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     make a false statement to a bank as charged in Count 1 of the Indictment.
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              2.                                  (GUILTY / NOT GUILTY) of the offense of false
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     statements to a bank as charged in Count 2 of the Indictment.
17
              3.                                  (GUILTY / NOT GUILTY) of the offense of conspiracy to
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     commit bank fraud as charged in Count 3 of the Indictment.
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              4.                                  (GUILTY / NOT GUILTY) of the offense of bank fraud as
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     charged in Count 4 of the Indictment.
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23
             DATED: August               , 2022
24                                                       FOREPERSON
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     VERDICT                                         1
     Case No. 3:21-CR-00402-RS
